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                            UNITED STATES COURT OF APPEALS
                                                                             FILED
Nov 16 2018                        FOR THE NINTH CIRCUIT
                                                                             OCT 26 2018
  s/ AKR                                                                    MOLLY C. DWYER, CLERK
                                                                             U.S. COURT OF APPEALS




      SHAVONDA HAWKINS, on behalf of                    No. 16-55532
      herself and all others similarly situated,
                                                        D.C. No. 3:15-cv-02320-JM-BLM
                       Plaintiff - Appellant,
                                                        U.S. District Court for Southern
           v.                                           California, San Diego

      THE KROGER COMPANY,                               MANDATE

                       Defendant - Appellee.


                The judgment of this Court, entered October 04, 2018, takes effect this date.

                This constitutes the formal mandate of this Court issued pursuant to Rule

   41(a) of the Federal Rules of Appellate Procedure.

                                                       FOR THE COURT:

                                                       MOLLY C. DWYER
                                                       CLERK OF COURT

                                                       By: Rebecca Lopez
                                                       Deputy Clerk
                                                       Ninth Circuit Rule 27-7
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                                      FOR PUBLICATION

                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                SHAVONDA HAWKINS, on                          No. 16-55532
                behalf of herself and all
                others similarly situated,                     D.C. No.
                           Plaintiff-Appellant,         3:15-cv-02320-JM-BLM

                                 v.
                                                                OPINION
                THE KROGER COMPANY,
                       Defendant-Appellee.


                         Appeal from the United States District Court
                             for the Southern District of California
                       Jeffrey T. Miller, Senior District Judge, Presiding

                           Argued and Submitted December 7, 2017
                                    Pasadena, California

                                       Filed October 4, 2018

                  Before: Marsha S. Berzon and Jacqueline H. Nguyen,
                  Circuit Judges, and Frederic Block,* District Judge.

                                      Opinion by Judge Block




                   *
                     The Honorable Frederic Block, United States Senior District Judge
               for the Eastern District of New York, sitting by designation.
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               2             HAWKINS V. THE KROGER COMPANY

                                          SUMMARY**


                         Preemption / Standing / Product Labels

                   The panel reversed the district court’s Fed. R. Civ. P.
               12(b)(6) dismissal of plaintiff’s putative consumer class
               action alleging that The Kroger Company sold Kroger Bread
               Crumbs that included misleading labels in violation of
               California law.

                   Plaintiff alleged that she purchased the bread crumbs by
               relying on information contained on the face of the label that
               the product contained “0g Trans Fat per serving.” Plaintiff
               further alleged that contrary to the claim on the label, the
               bread crumbs “contained artificial trans fats, and caused heart
               disease, diabetes, cancer, and death.”

                   Concerning plaintiff’s claim under California law of
               reliance on misleading labels, the panel held that plaintiff had
               standing because she adequately alleged that she relied on the
               label’s misrepresentations and would not have purchased the
               product without those misrepresentations. The panel also
               held that the label statement “0g Trans Fat per serving” was
               not preempted by federal regulations. Specifically, the panel
               noted that the federal Food and Drug Administration (“FDA”)
               regulations at issue involved two categories: rules contained
               in 21 C.F.R. § 101.9 governing what must be stated within
               the Nutrition Facts Panel; and rules governing “nutrient
               content claims.” The panel applied the holding in Reid v.
               Johnson & Johnson, 780 F.3d 952, 960 (9th Cir. 2015)

                   **
                     This summary constitutes no part of the opinion of the court. It has
               been prepared by court staff for the convenience of the reader.
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               (holding that the statement “No Trans Fat” was not allowed
               outside the Nutrition Facts Panel since the product did
               contain trans fat, notwithstanding that the Panel reported it
               contained 0g trans fat), and held that a consumer reading the
               label in this case could be misled, similarly, into believing
               that the product was free of trans fat. The panel further held
               that the federal regulations also bolstered their conclusion in
               this case. The panel concluded that because the FDA
               regulations did not authorize the contested statement,
               plaintiff’s labeling claims were not preempted.

                   Concerning plaintiff’s “use claims” under California law
               – that it was illegal to include trans fat in products since it
               was not for human consumption and an unlawful food
               additive – the panel held that plaintiff had statutory standing
               for the same reason she had statutory standing to bring her
               labeling claims. The panel further held that the issue of
               whether the claim was federally preempted by a Food and
               Drug Administration 2015 Final Determination on the subject
               was not addressed by the district court and not fully briefed
               on appeal. The panel declined to exercise its discretion to
               consider the issue, and remanded to the district court to
               decide in the first instance to what extent, if at all, the state
               law use claims were federally preempted.


                                        COUNSEL

               Gregory S. Weston (argued) and David Elliot, The Weston
               Firm, San Diego, California, for Plaintiff-Appellant.

               Jacob M. Harper (argued) and Nicole S. Phillis, Davis Wright
               Tremaine LLP, Los Angeles, California, for Defendant-
               Appellee.
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                                              OPINION

               BLOCK, District Judge:

                   Trans fat has become increasingly recognized as a
               dangerous substance and a leading cause of numerous serious
               ailments, including heart disease and diabetes. Food and Drug
               Administration (“FDA”) regulations govern the information
               reported within a food product’s Nutrition Facts Panel on the
               product’s label.1 As for trans fat, FDA regulations provided,
               at all relevant times, that if the product contained “less than
               0.5 gram” trans fat, as it did in this case, it was required to tell
               the consumer on the Nutrition Facts Panel that it contained
               0 grams trans fat, even though it contained this dangerous
               food additive.

                   We are asked to determine, inter alia, whether these FDA
               trans fat regulations governing the contents of the Nutrition
               Facts Panel preempt California’s unfair competition laws
               proscribing false or misleading advertising elsewhere on a
               food product’s label. We hold that they do not; accordingly,
               the plaintiff can challenge the legitimacy of defendant’s
               product advertising on the face of the label that it contains
               “0g Trans Fat per serving.” In doing so, we take the occasion
               to reinforce and apply our holding in Reid v. Johnson &
               Johnson that “a requirement to state certain facts in the

                   1
                      Somewhat confusingly, the FDA regulations refer to the ubiquitous
               box that contains nutritional facts as “nutrition labeling,” 21 C.F.R.
               § 101.9, while also referring to the rest of the product’s exterior as
               labeling. For clarity, and consistent with other decisions of this Court, this
               decision uses “Nutrition Facts Panel” to refer to the “nutrition labeling,”
               see, e.g., Lilly v. ConAgra Foods, Inc., 743 F.3d 662, 664 (9th Cir. 2014),
               and all other references to labels to refer to information outside the
               Nutrition Facts Panel.
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               nutrition label is not a license to make that statement
               elsewhere on the product.” 780 F.3d 952, 960 (9th Cir. 2015)
               (emphasis added).

                                                     I

                   Hawkins’ complaint alleges the following:2 The Kroger
               Company (“Kroger”) sells Kroger Bread Crumbs (“KBCs”)
               in stores in California, including the supermarket chain
               Ralph’s. Hawkins regularly purchased KBCs at several
               Ralph’s locations between 2000 and 2015. In making the
               purchases, she relied on the information contained on the face
               of the label that the product contained “0g Trans Fat per
               serving.” In August 2015, she discovered that, contrary to the
               claim on the label, KBCs “contained artificial trans fat, and
               caused heart disease, diabetes, cancer, and death.”3

                   2
                      We must “accept the complaint’s well-pleaded factual allegations as
               true, and construe all inferences in the plaintiff’s favor for the purposes of
               evaluating a motion to dismiss under Federal Rule of Civil Procedure
               12(b)(6).” Ariz. Students’ Ass’n v. Ariz. Bd. of Regents, 824 F.3d 858, 864
               (9th Cir. 2016).
                   3
                      On June 17, 2015, the FDA had released a Final Determination
               Regarding PHOs (“2015 Final Determination”), in which it declared:
               “[T]here is no longer a consensus among qualified experts that partially
               hydrogenated oils (PHOs), which are the primary dietary source of
               industrially-produced trans fatty acids (IP-TFA) are generally recognized
               as safe (GRAS) for any use in human food. ” 2015 Final Determination,
               80 Fed. Reg. 34650, 34650 (June 17, 2015). However, the 2015 Final
               Determination did not prohibit use of PHOs in food until June 18, 2018,
               to allow small businesses time to adjust, minimize market disruptions, and
               allow growth, harvest, and processing of new crops. Id. at 34668–69. On
               May 21, 2018, the FDA extended this compliance date, providing a range
               of new compliance dates depending on whether the manufacturer
               petitioned for a new date and the date on which the food was
               manufactured. Final Determination Regarding Partially Hydrogenated
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                   In October 2015, Hawkins brought a putative class action
               against Kroger seeking to represent a class of consumers who
               were misled by the label (“the labeling claims”) and had used
               the dangerous product (“the use claims”). The complaint
               alleged violations of the California Unfair Competition Law
               (“UCL”), Cal. Bus. & Prof. Code § 17200 et seq., False
               Advertising Law (“FAL”), Cal. Bus. & Prof. Code § 17500
               et seq., Consumer Legal Remedies Act (“CLRA”), Cal. Civ.
               Code § 1750 et seq., and common law claims for breach of
               implied warranty of merchantability and breach of express
               warranty. It sought damages, pre-judgment and post-
               judgment interest, injunctive4 and declaratory relief,
               attorneys’ fees, and costs.

                   The district court granted Kroger’s Rule 12(b)(6) motion
               to dismiss, with prejudice, holding that Hawkins lacked
               standing to bring these claims, and, alternatively, that the
               labeling claims were preempted by federal law.

                   The district court reasoned that plaintiff lacked standing
               to bring her labeling claims because it believed that she did
               not allege that she read the “0g Trans Fat per serving” label
               on the face of the label and therefore could not establish
               reliance or injury. It alternatively held that the labeling claims




               Oils, 83 Fed. Reg. 23358, 23359 (May 21, 2018) (“2018 Final
               Determination”).
                   4
                      Hawkins has since stated that “[b]ecause Kroger no longer engages
               in the conduct described in the complaint, [she] almost certainly would not
               pursue such relief on remand.” Hawkins’s Suppl. Br. at 3.
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               were preempted.5 The district court dismissed Hawkins’s use
               claims for lack of standing because her alleged injuries were
               too speculative. The district court did not address whether the
               use claims would be preempted.

                  Because we disagree with all of the district court’s
               holdings, we reverse and remand for further proceedings.

                                                    II

                   “We review de novo a district court’s order granting a
               motion to dismiss on preemption grounds, for lack of
               standing, or for failure to state a claim upon which relief can
               be granted.” Reid, 780 F.3d at 958.

               A. Labeling Claims

               1. Standing

                   We turn first to Hawkins’s statutory standing to bring her
               labeling claims. California law requires plaintiffs alleging
               UCL and FAL claims to show that they “ha[ve] suffered
               injury in fact and ha[ve] lost money or property as a result of
               the unfair competition.” Cal. Bus. & Prof. Code §§ 17204
               (UCL); see id. § 17535 (FAL); Hinojos v. Kohl’s Corp.,
               718 F.3d 1098, 1103 (9th Cir. 2013) (UCL and FAL standing
               requirement are identical) (citing Kwikset Corp. v. Sup. Ct.,


                   5
                     The district court commingled the questions of statutory standing
               and preemption, but these are two distinct legal issues and will be
               addressed separately. We note also that “a dismissal for lack of statutory
               standing is properly viewed as a dismissal for failure to state a claim rather
               than a dismissal for lack of subject matter jurisdiction.” Vaughn v. Bay
               Envtl. Mgmt., Inc., 567 F.3d 1021, 1024 (9th Cir. 2009).
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               246 P.3d 877, 884 (Cal. 2011)). A plaintiff is required to
               show “‘some form of economic injury’ as a result of his
               transactions with the defendant.” Hinojos, 718 F.3d at 1104
               (quoting Kwikset, 246 P.3d at 885). However, “the quantum
               of lost money or property necessary to show standing is only
               so much as would suffice to establish injury in fact.” Kwikset,
               246 P.3d at 886.

                   California law also requires causation—namely, that the
               plaintiff relied on the misrepresentation on the label. “A
               consumer who relies on a product label and challenges a
               misrepresentation contained therein can satisfy the standing
               requirement of section 17204 by alleging . . . that he or she
               would not have bought the product but for the
               misrepresentation.” Id. at 890. “That assertion is sufficient to
               allege causation [and it] is also sufficient to allege economic
               injury.” Id.; see also Davidson v. Kimberly-Clark Corp.,
               889 F.3d 956, 965 (9th Cir. 2018).

                   Hawkins alleges that she relied upon the label and would
               not have bought the product without the misrepresentation.
               For example, paragraph 76 of the complaint states: “Plaintiff
               relied on Defendant’s ‘0g trans fat’ claim as a substantial
               factor in her purchases”; paragraph 101 states: “Plaintiff
               purchased the Kroger Bread Crumbs believing they had the
               qualities she sought based on the Products’ deceptive
               labeling”; and paragraph 107 states: “Plaintiff, on at least one
               occasion, would not have purchased the Kroger Bread
               Crumbs absent Defendant’s misrepresentation.”

                   In holding that Hawkins did not plead reliance, the district
               court misread Hawkins’s complaint. It interpreted the
               complaint as alleging that she did not read the “0g Trans Fat
               per serving” product label until August 2015, fifteen years
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               after she began purchasing the product. However, the
               paragraph cited by the district court to support its conclusion
               reads, “Plaintiff first discovered Defendant’s unlawful acts
               described herein in August 2015, when she learned that
               Kroger Bread Crumbs contained artificial trans fat . . . .”
               Compl. ¶ 74 (emphases added). This paragraph does not
               allege that she first read the label in August 2015; it alleges
               she first discovered the label was misleading on that date. The
               district court did not address the three paragraphs where
               Hawkins concretely alleged that she relied on the label.

                   Because Hawkins adequately alleged that she relied on
               the label’s misrepresentations and would not have purchased
               the product without those misrepresentations, she has
               adequately alleged standing for her labeling claim.

               2. Preemption

                   We next turn to whether Hawkins’s state law mislabeling
               claim challenging the statement “0g Trans Fat per serving” is
               preempted by federal regulations.

               a. Preemption Generally

                   Preemption is guided by two principles: first, “the
               purpose of Congress is the ultimate touchstone in every pre-
               emption case,” and second, “[i]n all pre-emption cases, and
               particularly in those in which Congress has ‘legislated . . . in
               a field which the States have traditionally occupied,’ . . . we
               ‘start with the assumption that the historic police powers of
               the States were not to be superseded by the Federal Act
               unless that was the clear and manifest purpose of Congress.’”
               Wyeth v. Levine, 555 U.S. 555, 565 (2009) (alterations in
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               original) (quoting Medtronic, Inc. v. Lohr, 518 U.S. 470, 485
               (1996)).

               b. The NLEA

                   “The Nutritional Labeling and Education Act (‘NLEA’)
               amended the Food, Drug, and Cosmetic Act (‘FDCA’) to
               ‘establish[] uniform food labeling requirements, including the
               familiar and ubiquitous Nutrition Facts Panel found on most
               food packages.’” Reid, 780 F.3d 959 (alterations in original)
               (quoting Lilly, 743 F.3d at 664). “The ‘NLEA also provides
               that no state may “directly or indirectly establish any
               requirement for the labeling of food that is not identical” to
               the federal requirements.’” Id. (quoting Lilly, 743 F.3d at
               664–65); see also 21 U.S.C. § 343-1(a)(5).

                   “The phrase ‘not identical to’ means ‘that the State
               requirement directly or indirectly imposes obligations or
               contains provisions concerning the composition or labeling of
               food that are not imposed by or contained in the applicable
               federal regulation or differ from those specifically imposed
               by or contained in the applicable federal regulation.’” Reid,
               780 F.3d at 959 (quoting, with alterations, Lilly, 743 F.3d at
               665); see also 21 C.F.R. § 100.1(c)(4). However, the NLEA
               “does not preempt any state law unless the law is ‘expressly
               preempted.’” Id. (quoting Holk v. Snapple Beverage Corp.,
               575 F.3d 329, 337–38 (3d Cir. 2009)); nor does it “preempt
               state law-based causes of action that are identical to the
               federal labeling requirements,” id. (citing POM Wonderful
               LLC v. Coca-Cola Co., 134 S. Ct. 2228, 2238 (2014)).

                  Therefore, if FDA regulations expressly permit the claim
               “0g Trans Fat per serving” on the face of a product’s
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               packaging, any state law claim to the contrary would be
               preempted.

               c. The Nutrition Facts Panel and Nutrient Content
                  Claims

                   The FDA regulations at issue here can broadly be
               separated into two categories. First, there are rules, contained
               in 21 C.F.R. § 101.9, governing what must be stated within
               the Nutrition Facts Panel, including the amount of various
               nutrients, such as fat, saturated fat, trans fat, sodium, and
               carbohydrates. Second, there are rules governing “nutrient
               content claims” made elsewhere on the product. These are
               claims that “expressly or implicitly characterize[] the level of
               a nutrient,” 21 C.F.R. § 101.13(b); they are further subdivided
               between general and specific rules, 21 C.F.R. §§ 101.13
               (general rules), 101.62 (specific rules regarding fat).

                   Critically, the rules that govern claims made within the
               Nutrition Facts Panel and the rules that govern nutrition
               content claims elsewhere on the label are different:
               “Information that is required or permitted by § 101.9 . . . and
               that appears as part of the nutrition label, is not a nutrient
               content claim . . . . If such information is declared elsewhere
               on the label . . . it is a nutrient content claim and is subject to
               the requirements for [such] claims.” 21 C.F.R. § 101.13(c).

                   Without § 101.13(c), this would be a simple case. At the
               time Hawkins made the purchases, the relevant regulation
               provided that within the Nutrition Facts Panel, “[i]f the
               serving contains less than 0.5 gram, the content shall be
               expressed as zero.” 21 C.F.R. § 101.9(c)(2)(ii) (2015).
               Therefore, the claim “0g Trans Fat per serving” was not only
               permitted within the panel, but mandated. However, since,
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               under § 101.13(c), a statement as to the amount of a nutrient
               mandated inside the Nutrition Facts Panel is not necessarily
               permitted by the FDCA elsewhere on the packaging, further
               analysis is required to determine if the FDCA allows the same
               “0g Trans Fat per serving” claim elsewhere on the label. The
               district court erred by not performing this analysis.

               d. Reid v. Johnson & Johnson

                  In Reid, we determined that the statement “No Trans Fat”
               was not allowed outside of the Nutrition Facts Panel since the
               product did contain trans fat, notwithstanding that the
               Nutrition Facts Panel reported that it contained 0g trans fat.
               780 F.3d at 963. As we wrote:

                       Though the nutritional label clearly contains
                       information about nutrient content, the claims
                       made in it are not considered “nutrient content
                       claims” for the purposes of FDA regulations.
                       See 21 C.F.R. § 101.13(c). While a required
                       statement inside a nutrition label escapes
                       regulations reserved for nutrient content
                       claims, the identical statement outside of the
                       nutrition label is still considered a nutrient
                       content claim and is therefore subject to
                       section 101.13.

               Id. at 960.

                   “No Trans Fat” was an “expressed” nutrient content claim
               because it was “[a] direct statement about the level . . . of
               [trans fat] in the food.” Id. at 962 (alterations in original)
               (quoting § 101.13(b)(1)). Therefore, under the regulations, it
               could only be made if it did “not in any way implicitly
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               characterize the level of the nutrient in the food and [was] not
               false or misleading in any respect.” 21 C.F.R. § 101.13(i)(3).
               We held that “No Trans Fat” was misleading because a
               reasonable consumer might infer that the product did not
               contain trans fat. Reid, 780 F.3d at 962–63.

                   We “bolster[ed]” this conclusion in Reid by noting that
               under §§ 101.62(b)–(c) “the FDA has expressly allowed ‘No
               Fat’ and ‘No Saturated Fat’ nutrient content claims for
               products that contain less than 0.5 grams of fat or saturated
               fat per serving. By contrast, the FDA explicitly decided not
               to authorize a ‘No Trans Fat’ nutrient content claim in light
               of a lack of scientific information.” Id. at 962 (citing Food
               Labeling: Trans Fatty Acids in Nutrition Labeling, Nutrient
               Content Claims and Health Claims, 68 Fed. Reg. 41434,
               41464–65 (July 11, 2003)). Thus, the only interpretation
               which gave full meaning to each word of the regulations was
               that the claim “No Trans Fat” was not authorized. Therefore,
               we rejected the defendant’s argument that, because it was
               required to state the product had “0 grams trans fat per
               serving” within the Nutrition Facts Panel, it should be
               allowed to make an equivalent claim elsewhere on the label.
               Reid, 780 F.3d at 963.

               e. The Present Case

                   Reid squarely controls here. As in Reid, we have an
               expressed nutrient content claim that the product does not
               contain trans fat. Also as in Reid, the manufacturer was
               required to state that the product had “0g trans fat per
               serving” within the Nutrition Facts Panel. And, just as in
               Reid, because of § 101.13(c), this requirement did not give
               the manufacturer license to make the same claim elsewhere
               on the product, and the rest of the product labeling was
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               subject to the rules governing nutrition content claims,
               including that the claim not be “false or misleading in any
               way.” 21 C.F.R. § 101.13(i)(3).

                   It makes no difference that here the label outside the
               Nutrition Fact Panel stated that the product had “0g Trans
               Fat,” whereas in Reid it was “No Trans Fat.” Just as in Reid,
               a consumer reading the label could be misled into believing
               that the product was free of trans fat.

                   Moreover, like in Reid, the regulations also bolster our
               conclusion in this case. In addition to authorizing “no fat”
               and “no saturated fat” claims, §§ 101.62(b)–(c) also
               authorize “zero fat” and “zero saturated fat” claims. But just
               as the regulations do not authorize a “no trans fat” claim, they
               also do not authorize a “zero trans fat” claim. And we see no
               rational difference between “zero” and “0.” Spelling out the
               number does not change its meaning.6 To hold otherwise
               would create an illogical rule where the claim “zero trans fat”
               is misleading but “0 trans fat” is not.7

                  We are not the first to note that the FDA’s food
               regulations promulgated under the NLEA are “inconsistent
               and incomprehensive”: “A regulatory scheme intended to


                    6
                     We note the FDA regulations themselves treat “zero” and “0” as
               equivalent; the rounding rule at issue here instructs to round down to
               “zero” within the Nutrition Facts Panel. See 21 C.F.R. § 101.9(c)(2)(ii)
               (2015).
                    7
                      The district court relied on Carrea v. Dreyer’s Grand Ice Cream,
               Inc., 475 F. App’x 113 (9th Cir. 2012), an unpublished memorandum
               disposition that predates Reid. We are not bound by Carrea, see 9th Cir.
               R. 36-3(a), and, for the reasons stated in the text, we do not find its
               reasoning persuasive.
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               convey accurate and clear information to consumers is instead
               mind-bogglingly complex and confusing.” Diana R.H.
               Winters, The Magical Thinking of Food Labeling: The NLEA
               As A Failed Statute, 89 Tul. L. Rev. 815, 842 (2015). In
               particular, “the difficult and complex interaction between the
               preemption requirements” and “the level of specificity at
               which preemption must be determined” have caused “a large
               amount of judicial resources [to be] expended in the
               determination of these preliminary issues.” Id. at 850.8

                   In this case, as we have explained, the “rounding rules”
               applicable to the Nutrition Facts Panel do not apply to the
               nutrient content claim on the face of the label. And unlike
               other products, where the distinction may not be inimical to
               the public health, falsely advertising that a food product does
               not contain trans fat is a health hazard.9




                   8
                     The present case is a perfect example of the degree of difficulty in
               sorting out and tracking down the applicable regulations. Even the current
               status of the trans fat rounding rules is unclear. On May 27, 2016, the
               FDA issued a final rule called “Food Labeling: Revision of the Nutrition
               and Supplemental Facts Labels,” in which it purported to reaffirm the rule
               that a product containing less than 0.5 grams of trans fat must list the
               amount as zero grams. 81 Fed. Reg. 33742, 33787–88 (May 27, 2016).
               However, the actual amendments to the regulation removed subsection
               21 C.F.R. § 101.9(c)(2)(ii) entirely. See 81 Fed. Reg. at 33979. The
               revised version mandates the declaration of “total fat” with similar
               rounding rules but makes no mention of trans fat.
                    9
                      No challenge was mounted in this case under the Administrative
               Procedure Act as to whether the trans fat rounding regulation was
               “arbitrary or capricious.” See 5 U.S.C. § 706(2)(A); Chevron, U.S.A., Inc.
               v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 844 (1984). That issue is,
               therefore, not before us.
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                   Because the FDA regulations do not authorize the
               contested statement, Hawkins’s labeling claims are not
               preempted.

               B. Use Claims

                   Hawkins also brought a set of claims under the theory
               that, under California law, it is illegal to include trans fat in
               products since it is not fit for human consumption and is an
               unlawful food additive. As noted, these claims were
               dismissed for lack of standing because the district court
               viewed the injuries as too speculative. Unlike the labeling
               claims, the court did not address whether the use claims were
               preempted.

               1. Standing

                   Hawkins has statutory standing for the same reason she
               has statutory standing to bring her labeling claims—it is
               sufficient for a consumer to allege that she bought a product
               she would not have otherwise bought if she had known the
               product was harmful. Davidson, 889 F.3d at 965–66.

               2. Preemption

                   Kroger argues, as an alternative ground for dismissal of
               the use claims, that they are preempted by the FDA’s 2015
               Final Determination that PHOs are no longer GRAS because
               the FDA gave food companies the three-year window before
               it would begin enforcement of the new determination.10 2015


                    10
                      We note that in another recent case brought by Hawkins
               challenging the use of PHOs in food, a panel of this court “assume[d]
               without deciding that Hawkins’s claims are not preempted by federal
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               Final Determination, 80 Fed. Reg. at 34651. This three-year
               window was statutorily embraced in 2016 when, as part of the
               Consolidated Appropriations Act of 2016, Pub. L. No. 114-
               113, 129 Stat. 2242 (“2016 CAA”), Congress enacted
               language stating no PHOs “shall be deemed unsafe . . . and no
               food . . . shall be deemed adulterated . . . by virtue of bearing
               or containing a [PHO] until” the three-year window expired.
               2016 CAA § 754.

                   “Generally, we do not ‘consider an issue not passed upon
               below.’” Foti v. City of Menlo Park, 146 F.3d 629, 638 (9th
               Cir. 1998) (quoting Golden Gate Hotel Ass’n v. City & Cty.
               of San Francisco, 18 F.3d 1482, 1487 (9th Cir. 1994)). “This
               general rule has exceptions, but invocation of those
               exceptions is discretionary.” Id.

                   We decline to exercise our discretion here. The
               preemption issue was not fully briefed on appeal by either
               party. For example, the analysis may be different as to
               purchases prior to the 2015 Final Determination, between the
               2015 Final Determination and the passage of the 2016 CAA,
               and after the passage of the 2016 CAA. These distinctions
               were not addressed.




               law.” Hawkins v. AdvancePierre Foods, Inc., 733 F. App’x. 906, 906
               (Aug. 10, 2018). The panel affirmed the lower court’s dismissal of the
               case on the merits. Id. at 906–07. We leave it to the district court on
               remand to assess that non-precedential decision’s persuasive value and
               relevance to this case.
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                   Thus, we leave it to the district court on remand to decide
               in the first instance to what extent, if at all, the state law use
               claims are federally preempted.11

                                                  III

                   Hawkins has established standing for her label and use
               claims. Her label claims are not preempted. On remand, the
               district court shall consider whether the use claims are
               preempted.

                    REVERSED AND REMANDED.




                    11
                      Kroger brings a plethora of other alternative grounds to affirm that
               were not addressed by the district court. These arguments, many involving
               factual allegations, are best presented to the district court in the first
               instance on remand. See Winter v. United States, 244 F.3d 1088, 1092 (9th
               Cir. 2001) (declining to reach issue “not addressed by the district court”
               which “involves the resolution of disputed factual issues”).
